Case 1:18-cv-01079-WJM-KLM Document 3 Filed 05/07/18 USDC Colorado Page 1 of 4




                                                                  DATE FILED: April 10, 2018 9:30 AM
   DISTRICT COURT, LARIMER COUNTY, COLORADO FILING ID: C5921AA7EFE8B
   Larimer County Justice Center            CASE NUMBER: 2018CV30340
   201 LaPorte Avenue, Suite 100
   Fort Collins, CO 80521-2761
   (970) 494-3500


   Plaintiff:      WILLIAM W. JOHNSON

   Defendants:     USAA GENERAL INDEMNITY
                   COMPANY                                              COURT USE ONLY

   Robert A. Garcin, Esq.
   LAW OFFICES OF ROBERT A. GARCIN                                   Case #: 2018 CV ______
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   Attorney for Plaintiff


                            COMPLAINT (PERSONAL INJURY - AUTO)


          Plaintiff alleges:

                                     FIRST CLAIM FOR RELIEF
                            (Against USAA for Underinsured Motorist Benefits)

         1.       Plaintiff is, and at all times relevant hereto was, a resident of Larimer County,
  Colorado.

          2.     Defendant USAA General Indemnity Company (“USAA”) is a licensed insurer
  doing business throughout the State of Colorado. Venue is proper in Larimer County because
  the automobile collision giving rise to the claims stated herein occurred here, and because the
  insurance policy sued upon was issued to Plaintiff here.

         3.     On January 13, 2016, Plaintiff was driving his 2007 Dodge Ram Pickup
  eastbound on E. Eisenhower Boulevard in the City of Loveland, Larimer County, Colorado.




                                                                                           EXHIBIT A
Case 1:18-cv-01079-WJM-KLM Document 3 Filed 05/07/18 USDC Colorado Page 2 of 4




         4.     At that time one Milton Segovia-Rojas, driving a 2002 Chevrolet Trailblazer, also
  eastbound on E. Eisenhower, failed to exercise reasonable care in the operation of his motor
  vehicle when he rear-ended Plaintiff.

          5.      The negligence of Segovia-Rojas consisted of failing to maintain a proper lookout
  and failing to pay attention to the roadway ahead of him. His conduct was careless in violation
  of one or more Colorado statutes and amounts to negligence and negligence per se.

         6.      As a direct result of the collision, Plaintiff was violently traumatized and has
  suffered serious and permanent injuries as a result of Segovia-Rojas’ carelessness.

          7.       Specifically, Plaintiff has suffered serious injury to his neck, both shoulders, right
  biceps tendon, right clavicle has incurred reasonable and necessary medical expenses to be
  proven at trial, in excess of $70,000. Plaintiff will incur additional medical expenses in
  connection with his injuries in the future.

         8.      Plaintiff sustained substantial permanent personal injuries resulting in both past
  and future economic and non-economic damages, including physical pain, emotional distress,
  mental anguish and diminished quality of life.

          9.       As a further direct and proximate result of the negligence of Segovia-Rojas,
  Plaintiff has, to some degree, suffered permanent physical impairment with associated loss of
  earnings, loss of earning capacity and loss of access to certain employment.

          10.     At the time of the subject collision, Segovia-Rojas was insured by Legacy
  Insurance with coverage limits of $25,000. With permission from USAA, Plaintiff entered into a
  policy limits settlement with Segovia-Rojas and Legacy.

          11.     At the time of the subject collision Plaintiff was insured under one or more
  policies issued by Defendant USAA. Plaintiff’s policies include protection for damages and
  personal injuries caused by uninsured and underinsured motorists.

          12.     Plaintiff has made reasonable demand against USAA, pursuant to the provisions
  of his insurance policy, for additional compensation based upon what the tortfeasor Segovia-
  Rojas is liable to him and pursuant to the underinsured motorist provisions of his policy and
  Colorado law.

         13.    USAA has failed and refused to evaluate Plaintiff’s injuries in good faith and has
  unreasonably delayed and denied Plaintiff’s recovery of compensation, causing additional
  damages to Plaintiff.

          14.    USAA is in breach of its obligations under the insurance policy purchased and
  paid for by Plaintiff.


                                                     2
                                                                                             EXHIBIT A
Case 1:18-cv-01079-WJM-KLM Document 3 Filed 05/07/18 USDC Colorado Page 3 of 4




                              SECOND CLAIM FOR RELIEF
                  (Against USAA For Violation of Section 10-3-1116(1), C.R.S.)

         15.     Plaintiff incorporates the allegations set forth in Paragraphs 1 through 14, as
  though set forth in full at this point.

          16.     Defendant USAA has continued to unreasonably deny and delay benefits to
  Plaintiff under his insurance contract, contrary to Colorado law.

         17.    Pursuant to Section 10-3-1116(1) Plaintiff is entitled to reasonable attorneys fees
  and two times the covered benefits as a penalty for USAA’s unreasonable delay and denial.


                                   THIRD CLAIM FOR RELIEF
                                   (Against USAA for Bad Faith)

         18.    Plaintiff incorporates the allegations set forth in Paragraphs 1 through 14, and 16
  through 17 above, as though set forth in full at this point.

           19.    USAA’s conduct in failing to properly evaluate Plaintiff’s claim and in its
  handling of Plaintiff’s UIM claim in general is unreasonable and it knows or should know such
  conduct is unreasonable. By its conduct since October, 2017, and by its continuing conduct in
  the handling of Plaintiff’s first party claim for underinsured motorist benefits, USAA is guilty of
  the tort of bad faith under Colorado common law.

        20.     USAA’s conduct has caused Plaintiff additional economic and non-economic
  damages, to be proven at trial.


          WHEREFORE, Plaintiff prays for judgment on his Claims for Relief against
  Defendant, for economic and non-economic damages suffered as a result of his injuries, to be
  proven at trial, including, but not limited to, past and future medical expenses, lost earnings, lost
  earning capacity; general pain and suffering, loss of enjoyment of life, mental anguish and
  emotional distress; for physical impairment damages; for other general economic and non-
  economic damages occasioned by USAA’s bad faith; for statutory double damages and attorneys
  fees; for Plaintiff’s costs incurred herein; for interest from June 15, 2016, at the rate of nine per
  cent (9%) per annum, and for such other and further relief as the Court deems just and proper.


         DATED this 11th day of January, 2018




                                                    3
                                                                                           EXHIBIT A
Case 1:18-cv-01079-WJM-KLM Document 3 Filed 05/07/18 USDC Colorado Page 4 of 4




                                               LAW OFFICE OF ROBERT A. GARCIN
                                               Attorney for Plaintiffs


                                               /s/ Robert A. Garcin
                                               _______________________________________
                                               Robert A. Garcin, #14873

  Address of Plaintiff:

  2120 Timber Creek Drive M3
  Fort Collins, Colorado 80528



                                         JURY DEMAND

         Plaintiff hereby requests that this matter be tried to a jury of six (6) persons.


                                               LAW OFFICE OF ROBERT A. GARCIN
                                               Attorney for Plaintiff

                                               /s/ Robert A. Garcin
                                               _______________________________________
                                               Robert A. Garcin




                                                  4
                                                                                         EXHIBIT A
